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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

JACKSON VELA,                                 :
                                              :
                       Plaintiff,             :
v.                                            :   Civil Action No. 1:17- cv-01093 (LMB/JFA)
                                              :
EQUIFAX INFORMATION SERVICES,                 :
LLC, et al.,                                  :
                                              :
                       Defendants.            :

                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                   CONSENT MOTION FOR AN EXTENSION OF TIME

       The Plaintiff, Jackson Vela, by counsel and with the consent of Equifax Information

Services, LLC and Fair Collections & Outsourcing, Inc., the remaining Defendants in this case,

respectfully submits this memorandum of law in support of his Motion for Extension of Time of

the deadline to serve expert witness disclosures. Specifically, he is seeking a two-week extension

through February 26, 2018, as well as a reciprocal extension for the Defendants, through March

28, 2018. In support of his Motion, Plaintiff states as follows:

       On December 21, 2017, the Court approved the Parties’ Joint Discovery Plan, which set

the deadline for Plaintiff to serve his expert witness disclosures as February 12, 2018 and the

deadline for the Defendants to serve their responding expert witness disclosures as March 14,

2018. (Dkt. Nos. 27, 28). The Defendants recently provided their discovery responses, and the

Plaintiff is engaged in the meet and confer process to obtain what he needs to prove his case.

Plaintiff is seeking a short, two-week extension to obtain the necessary information and allow his

expert to prepare his report, as well as a reciprocal deadline for the Defendants. In addition,

Plaintiff is taking depositions, which will likely impact the expert’s opinion. The requested

extension will also allow the Parties some additional time to explore a possible resolution of the
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case, which they have been discussing. The Defendants have consented to the extension, which

will not impact any other deadlines in the case or slow the litigation of this matter.

       There is good cause to grant the motion because the extension is not sought for a dilatory

purpose and would serve the interests of justice. Accordingly, the Plaintiff respectfully requests

that this Court grant his Motion for an Extension of Time and enter the Proposed Order filed

herewith.

                                               Respectfully submitted,
                                               JACKSON VELA


                                               By:_________/s/________________________
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of February, 2018, I will electronically file the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to all counsel of record.



                                           ______________/s/__________________
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